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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 MICHAEL DORAN, et al,                               CV 20-51-BLG-SPW-TJC

                     Plaintiffs,
                                                     ORDER STAYING
 v.                                                  PROCEEDINGS

 PORCH.COM INC., a Delaware
 corporation; GOSMITH INC. a
 Delaware corporation; MATTHEW
 EHRLICHMAN, CEO and co-founder
 of Porch.com Inc. and CEO of
 GoSmith, Inc., in his individual
 capacity; BRENTON MARRELLI,
 CEO and co-founder of GoSmith Inc.,
 in his individual capacity; and
 DARWIN WIDJAJA, CTO and co-
 founder of GoSmith Inc. and VP of
 Porch.com Inc., in his individual
 capacity,

                      Defendants.

      Before the Court is the parties’ Joint Motion to Stay Proceedings until the

matter is consolidated with related pending actions in the Western District of

Washington. (Doc. 24.)

      Therefore, IT IS ORDERED all proceedings in this matter are STAYED for

a period of 30 days. If consolidation has not been accomplished within 30 days,

the parties shall file a joint status report, outlining their efforts to complete

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consolidation and advising of any additional time which may be necessary to do

so.

      DATED this 5th day of November, 2020.

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                                     TIMOTHY J. CAVAN
                                     United States Magistrate Judge
